            Case 1:09-cr-00104-LJO Document 104 Filed 11/03/10 Page 1 of 2


 1   ROBERT L. FORKNER (CSB#1066097)
     Law Offices of Robert L. Forkner
 2   722 Thirteenth Street
     Modesto, CA 95354
 3   Telephone: (209) 544–0200
     Fax:        (209) 544-1860
 4
     Attorney for Defendant
 5   NOEL CASTILLO
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       ) No. 1:09-cr-00104 LJO
12                                   )
                    Plaintiff,       ) STIPULATION AND ORDER
13                                   )
          v.                         )
14                                   )
     NOEL CASTILLO,                  )
15                                   )
                    Defendants.      )
16   _______________________________ )
17
           Defendant NOEL CASTILLO, through his attorney ROBERT L. FORKNER, and
18
     the United States, through its counsel, Assistant United States Attorney KAREN A.
19
     ESCOBAR, hereby stipulate and request the following:
20
           I. That the Court continue the sentencing in the above-captioned case from
21
     November 5, 2010, to January 14, 2011 at 9:00 a.m.
22
           II. The defense has requested the continuance in order to permit Mr. Castillo’s co-
23
     defendant to be sentenced first on November 5, 2010. Further, the Defense counsel has a
24
     seven defendant, in-custody preliminary hearing previously scheduled for November 5,
25
     2010 at 1:30 p.m. in Tuolumne County, that has been changed to 10:00 a.m.
26
           For these reasons, the parties stipulate and request that the Court exclude time
27
     within which the trial must commence under the Speedy Trial Act from November 5, 2010
28
             Case 1:09-cr-00104-LJO Document 104 Filed 11/03/10 Page 2 of 2


 1   through January 14, 2011 for defense preparation under 18 U.S.C. § 3161(h)(8)(B)(ii) and
 2   (iv) (local codes T2 and T4).
 3
 4                                                  Respectfully submitted,
 5
 6         Dated: November 3, 2010
                                                    /s/ Robert L. Forkner
 7                                                  ROBERT L. FORKNER
                                                    Attorney for Defendant
 8                                                  NOEL CASTILLO
 9         Dated: November 3, 2010
                                                    /s/ Karen A. Escobar
10                                                  KAREN A. ESCOBAR
                                                    Assistant United States Attorney
11
12
13
14                                              ORDER
15         IT IS SO ORDERED. For the reasons stated above, the Court finds that the needs
16   of defense counsel to prepare outweigh the public and the defendants’ interest in a speedy
17   trial, and therefore the continuance and exclusion of time are in the interest of justice.
18
19         Dated:     November 3, 2010
20                                                  /s/ Lawrence J. O’Neill
                                                    Honorable Lawrence J. O’Neill
21                                                  United States District Judge
22
23
24
25
26
27
28                                                  2
